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From:            Mary Bateman
To:              Sandra Gant
Subject:         Paul J Bateman
Date:            Saturday, April 6, 2024 8:32:36 AM


EXTERNAL SENDER
Dear Judge Talwani,

My name is Mary P. Bateman. Paul J. Bateman is my oldest son. I never thought I would be
writing such a letter for him as this has been very hard on all the family.

Paul has always been a good, normal boy growing up. He liked school and did well, played
sports baseball, soccer and football. He then went to Bridgewater State College where he
studied computer science. He did well there also until he hit a patch where he thought he
might change his direction and his marks showed this. So after looking at his options, working
full time, joining the military or going back to school, he then went to Massasoit picked up
some credits that he needed and then went back to Bridgewater State.

He started working when he turned 14 and has always continued to work. His managers,
supervisors and coworkers always seemed to like him . He is respectful and is a homebody.
He also is very close with his brother John. We are a small but close family.

The stress of what has happened to Paul and the rest of the family has been very hard on all of
us. We as a family have never been separated from one another. Both my sons live close to
myself and my husband . I worry where he will go, what he might need, will he be ok. Most
importantly will he receive the help that he needs.

Paul is very concerned about his wife Kristin. whom he loves very much. She has never been
on her own. He is concerned that she will not be able to keep their condo and emotionally
keep it together..

The last 4 years have taken a toll on Paul and the rest of the family. Paul has complied with all
the rules and regulations that was required of him. Due to our health issues, I/we hope to live
to see Paul return to our family once again.

Respectfully,


Mary P, Bateman
